3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 1 of 11
                                                                         Merriam-Webster




                                                                                                      9/ rg




                                                                                                              .
                                                                                                    3/ be




                                                                                                           on
                                                                                                         22
                                                                                               ed en




                                                                                                        si
                                                                                                er t.
                                                                                                     is
                                                                                            t p igh
                                                                                             id re




                                                                                                   m
                                                                                          ec G




                                                                                         ou yr
                                                                                                 2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um
                                                           pr oc
                                                         re d
                                                       er his
                                                    rth T
                                                     Fu




  SINCE 1828



  GAMES & QUIZZES THESAURUS WORD OF THE DAY FEATURES
    SHOP
  Buying Guide M-W Books
  SUBSCRIBE TO MWU


            MY WORDSMY WORDS                          RECENTS settings log out
          LOG IN
https://www.merriam-webster.com/dictionary/obtain                                                                 1/11
3/18/22, 3:28 PM Case 1:21-cr-00092-JPO Document      142& Meaning
                                         Obtain Definition  Filed- 03/24/22     Page 2 of 11
                                                                   Merriam-Webster

          REGISTER

         obtain




  dictionary
  thesaurus

         Log in Sign Up
  Hello,
  Games & Quizzes Thesaurus Word of the Day Features Buying Guide                          M-W Books        Subscribe to MWU

             My WordsMy Words
             View Recents
             Account

  Log Out



  obtain
                                                                                                     9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




  verb

                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18



     Save Word
                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




  To save this word, you'll need to log in.
                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi




  Log In
                                                                     is pr
                                                                        A rc

                                                                    n is




  ob·​tain | \ əb-ˈtān  , äb- \
                                                                 tio nt
                                                               uc e




  obtained; obtaining; obtains
                                                             od um
                                                           pr oc
                                                         re d




  Definition of obtain
                                                       er his
                                                    rth T




  transitive verb
                                                      Fu




  : to gain or attain usually by planned action or effort The information was difficult to obtain. We obtained a copy
  of the original letter.

  intransitive verb

  1 : to be generally recognized or established : prevail Those ideas no longer obtain for our generation. a greater
  degree of free expression than usually obtains in film production— Roger Manvell
  2 archaic : succeed
     Other Words from obtain                 Synonyms & Antonyms               Did you know?          More Example Sentences
  Learn More About obtain

  Other Words from obtain

  obtainability \ əb-​ˌtā-​nə-​ˈbi-​lə-​tē          , äb-​\ noun
https://www.merriam-webster.com/dictionary/obtain                                                                              2/11
3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 3 of 11
                                                                         Merriam-Webster

  obtainable \ əb-​ˈtā-​nə-​bəl         , äb-​\ adjective
  obtainer noun
  obtainment \ əb-​ˈtān-​mənt            , äb-​\ noun

  Synonyms & Antonyms for obtain
  Synonyms

          acquire,
          attain,
          bag,
          bring in,
          capture,
          carry,
          come by,
          draw,
          earn,
          gain,
          garner,
          get,
          knock down,                                                                                9/ rg




                                                                                                             .
                                                                                                   3/ be
          land,




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
          make,




                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
          procure,
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2

          pull down,                                                                  ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
          realize,
                                                                                  d by
                                                                                        3/
                                                                                 C in




          reap,
                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R




          secure,
                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot




          win
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is




  Antonyms
                                                                 tio nt
                                                               uc e
                                                             od um




          forfeit,
                                                           pr oc
                                                         re d




          lose
                                                       er his
                                                    rth T




  Visit the Thesaurus for More
                                                     Fu




  Did you know?
  Obtain, which was adopted into English in the 15th century, comes to us via Anglo-French from the Latin
  obtinēre, meaning "to hold on to, possess." Obtinēre was itself formed by the combination of ob-, meaning "in the
  way," and the verb tenēre, meaning "to hold." In its earliest uses, obtain often implied a conquest or a successful
  victory in battle, but it is now used for any attainment through planned action or effort. The verb tenēre has
  incontestably prevailed in the English language, providing us with such common words as abstain, contain,
  detain, sustain, and, perhaps less obviously, the adjectives tenable and tenacious.

  Examples of obtain in a Sentence
  The information may be difficult to obtain. We obtained a copy of the original letter. These ideas no longer obtain
  for our generation.
  Recent Examples on the Web The Kytch founders argued in that lawsuit that Taylor worked with TFG and one
  franchise owner to stealthily obtain a Kytch device, reverse-engineer it, and attempt to copy its features. — Andy
https://www.merriam-webster.com/dictionary/obtain                                                                   3/11
3/18/22, 3:28 PM   Case 1:21-cr-00092-JPO Document              142& Meaning
                                                   Obtain Definition  Filed- 03/24/22     Page 4 of 11
                                                                             Merriam-Webster

  Greenberg, Wired, 2 Mar. 2022 As a result of these directives, families like the Does have been exposed
  immediately to such investigations—including surprise home visits from CPS and efforts to obtain their
  confidential medical records. — Melissa Gira Grant, The New Republic, 1 Mar. 2022 The drive redefined Stafford
  as a champion in the clutch one year after the Rams traded three draft picks and their previous starting quarterback
  to obtain him from the Detroit Lions. — Brent Schrotenboer, USA TODAY, 14 Feb. 2022 See More

  These example sentences are selected automatically from various online news sources to reflect current usage of
  the word 'obtain.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
  Send us feedback.

  First Known Use of obtain
  15th century, in the meaning defined at transitive sense

  History and Etymology for obtain
  Middle English obteinen, from Anglo-French & Latin; Anglo-French obtenir, from Latin obtinēre to hold on to,
  possess, obtain, from ob- in the way + tenēre to hold — more at thin

  Learn More About obtain                                                                            9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
  Share obtain
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
  Post the Definition of obtain to Facebook                      Share the Definition of obtain on Twitter
                                                                                  d by
                                                                                        3/
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d




  Time Traveler for obtain
                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um
                                                           pr oc
                                                         re d




  The first known use of obtain was in the 15th century
                                                       er his
                                                    rth T




  See more words from the same century
                                                     Fu




  Listen to Our Podcast About obtain



                                             obtain
                                              SUBSCRIBE          DOWNLOAD
                                                
                                                          00:00 / 01:43Listen on                                 
                                                                                                                 




  Theme music by Joshua Stamper ©2006 New Jerusalem Music/ASCAP

https://www.merriam-webster.com/dictionary/obtain                                                                    4/11
3/18/22, 3:28 PM  Case 1:21-cr-00092-JPO Document           142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 5 of 11
                                                                         Merriam-Webster

  Get Word of the Day delivered to your inbox!

   Your email address                   Sign Up


  Dictionary Entries Near obtain
  obt

  obtain

  obtainal

  See More Nearby Entries

  Statistics for obtain
  Last Updated

  14 Mar 2022

  Look-up Popularity                                                                                 9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
  Top 1% of words




                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
  Cite this Entry
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in




  “Obtain.” Merriam-Webster.com Dictionary, Merriam-Webster, https://www.merriam-
                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te



  webster.com/dictionary/obtain. Accessed 18 Mar. 2022.
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr




  Style: MLA
                                                                        A rc

                                                                    n is




  MLA Chicago APA                     Merriam-Webster
                                                                 tio nt
                                                               uc e




  Seen & Heard
                                                             od um




  People are talking about
                                                           pr oc
                                                         re d
                                                       er his
                                                    rth T
                                                     Fu




     AdChoices                                       Sponsored




https://www.merriam-webster.com/dictionary/obtain                                                                5/11
3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 6 of 11
                                                                         Merriam-Webster




  More Definitions for obtain                                                                        9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
  obtain




                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2

  verb
                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/




  ob·​tain | \ əb-ˈtān        \
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




  obtained; obtaining
                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi




  Kids Definition of obtain
                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um




  : to gain or get hold of with effort She was able to obtain a ticket to the show. We obtained permission to enter.
                                                           pr oc
                                                         re d




  More from Merriam-Webster on obtain
                                                       er his
                                                    rth T




  Nglish: Translation of obtain for Spanish Speakers
                                                     Fu




  Britannica English: Translation of obtain for Arabic Speakers




                                                           WORD OF THE DAY




                                                           nascent
                                                     See Definitions and Examples »

https://www.merriam-webster.com/dictionary/obtain                                                                      6/11
3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 7 of 11
                                                                         Merriam-Webster


                                                Get Word of the Day daily email!


                                                    Your email address           SUBSCRIBE




                                             Test Your Vocabulary

                                                    Which Word Does Not Belong?



                                                                    Which of these words
                                                                    does not mean
                                                                    "nonsense"?

                                                             bunkum                 sagacity


                                                           blatherskite             folderol         9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                Test your visual vocabulary
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                with our 10-question
                                                                                  d by
                                                                                        3/
                                                                                 C in




                                                                challenge!
                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                TAKE THE QUIZ
                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um




                                                                A daily challenge for
                                                           pr oc




                                                                crossword fanatics.
                                                         re d
                                                       er his




                                                                TAKE THE QUIZ
                                                    rth T
                                                     Fu




                               Love words? Need even more definitions?
      Subscribe to America's largest dictionary and get thousands more definitions and advanced
                                            search—ad free!


                                                     MERRIAM-WEBSTER UNABRIDGED



https://www.merriam-webster.com/dictionary/obtain                                                                7/11
3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 8 of 11
                                                                         Merriam-Webster




                                                              WORDS AT PLAY




                                                       Words of the Week - March
                                                                   18

                                                        From the week ending 3/18/2022




                                                        30 Ways to Tell the Future

                                                        Let us know if any of these work
                                                                    for you
                                                                                                     9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                        Is it 'St. Patty's Day' or 'St.
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in




                                                                Paddy's Day'?
                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um




                                                                  Clever Insults
                                                           pr oc
                                                         re d
                                                       er his




                                                       Flummox your foes with the finest
                                                    rth T




                                                                vocabulary
                                                     Fu




                                                             ASK THE EDITORS




                                                         'Everyday' vs. 'Every Day'

                                                           A simple trick to keep them
                                                                    separate



https://www.merriam-webster.com/dictionary/obtain                                                                8/11
3/18/22, 3:28 PM       Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition  Filed- 03/24/22     Page 9 of 11
                                                                         Merriam-Webster




                                                               What Is 'Semantic
                                                                 Bleaching'?

                                                              How 'literally' can mean
                                                                  "figuratively"




                                                                      Literally

                                                        How to use a word that (literally)
                                                               drives some pe...




                                                                                                     9/ rg
                                                        Is Singular 'They' a Better




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                 Choice?
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                         The awkward case of 'his or her'
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt




                                                                WORD GAMES
                                                               uc e
                                                             od um
                                                           pr oc
                                                         re d
                                                       er his
                                                    rth T




                                                         Great Words for Scrabble
                                                     Fu




                                                         Words to improve your Scrabble
                                                                     game

                                                                    TAKE THE QUIZ




https://www.merriam-webster.com/dictionary/obtain                                                                9/11
3/18/22, 3:28 PM      Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition Filed -03/24/22     Page 10 of 11
                                                                         Merriam-Webster




                                                         The Return of Commonly
                                                             Confused Words

                                                      Your challenge is imminent. Or is it
                                                                  immanent?

                                                                    TAKE THE QUIZ




                                                               Name That Thing

                                                        Test your visual vocabulary with
                                                               our 10-question ...

                                                                    TAKE THE QUIZ

                                                                                                     9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in




                          Learn a new word every day. Delivered to your inbox!
                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is




        Your email address
                                                                 tio nt
                                                               uc e
                                                             od um
                                                           pr oc
                                                         re d
                                                       er his
                                                    rth T




                                           OTHER MERRIAM-WEBSTER DICTIONARIES


                                      MERRIAM-WEBSTER'S UNABRIDGED DICTIONARY
                                                     Fu




                                                         SCRABBLE ® WORD FINDER

                                                    MERRIAM-WEBSTER DICTIONARY API


                                           NGLISH - SPANISH-ENGLISH TRANSLATION

                                        BRITANNICA ENGLISH - ARABIC TRANSLATION


                                                                  FOLLOW US




https://www.merriam-webster.com/dictionary/obtain                                                                10/11
3/18/22, 3:28 PM      Case 1:21-cr-00092-JPO Document      142& Meaning
                                               Obtain Definition Filed -03/24/22     Page 11 of 11
                                                                         Merriam-Webster




               Browse the Dictionary: A B C D E F G H I J K L M N O P Q R S T U
                                                                 V W X Y Z 0-9

                   Home          Help        Apps        About Us        Shop       Advertising Info         Dictionary API
                   Contact Us           Join MWU            Videos      Word of the Year           Vocabulary Resources
                           Law Dictionary              Medical Dictionary          Privacy Policy        Terms of Use

               Browse the Thesaurus                   Browse the Medical Dictionary              Browse the Legal Dictionary

                                                    © 2022 Merriam-Webster, Incorporated




                                                                                                     9/ rg




                                                                                                             .
                                                                                                   3/ be




                                                                                                          on
                                                                                                        22
                                                                                               ed en




                                                                                                       si
                                                                                                er t.
                                                                                                    is
                                                                                            t p igh
                                                                                             id re




                                                                                                  m
                                                                                          ec G




                                                                                         ou yr
                                                                                                2
                                                                                        D v



                                                                                              /2


                                                                                      ith op
                                                                                     92 US




                                                                                           18


                                                                                     w c
                                                                                  d by
                                                                                        3/
                                                                                 C in



                                                                                     on


                                                                               ite d
                                                                             21 ited




                                                                            ib te
                                                                                   R


                                                                                   d

                                                                         oh ec
                                                                                ve
                                                                                 C




                                                                       pr ot
                                                                             hi

                                                                     is pr
                                                                        A rc

                                                                    n is
                                                                 tio nt
                                                               uc e
                                                             od um
                                                           pr oc
                                                         re d
                                                       er his
                                                    rth T
                                                     Fu




https://www.merriam-webster.com/dictionary/obtain                                                                              11/11
